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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY


                                                  :
MANUFACTURERS ALLIANCE                            :
INSURANCE COMPANY,                                :   Civil Action No.: ____________________
                                                  :
         Plaintiff,                               :
                                                  :
                  v.                              :
                                                  :
UNITEX TEXTILE SERVICES, LLC and                  :
UNITEX TEXTILE RENTAL SERVICES,                   :
INC.,                                             :
                                                  :
         Defendants.                              :
                                                  :

                                           COMPLAINT

         Plaintiff Manufacturers’ Alliance Insurance Company (“MAIC”), by and through its

undersigned counsel, hereby makes its complaint against Defendants Unitex Textile Services,

LLC (“Unitex”) and Unitex Textile Rental Services, Inc. (“Unitex Rental Services”) and in

support hereof, avers as follows:


                                         INTRODUCTION

         1.       This action is filed pursuant to the Declaratory Judgment Act, 28 U.S.C. § 2201,

as there is an actual case and controversy between the parties that requires adjudication by the

Court.

         2.       MAIC is an insurer of Unitex and issued a Business Auto Policy to Unitex,

bearing Policy No. 152200-91-26-38-4A, with a policy period of July 1, 2022 to July 1, 2023

(the “Policy”).
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       3.      MAIC seeks a declaration that it has no duty to defend or indemnify Unitex or

Unitex Rental Services under the Policy with respect to a third party complaint (the “Third Party

Complaint”) filed against Unitex Rental Services by the Trustees of Princeton University

(“Princeton”) in an underlying action captioned Chad Cummings v. Trustees of Princeton

University d/b/a Princeton University, et al., No. MID-L-002838-23 (N.J. Super., Law Div.) (the

“Underlying Action”).

       4.      The plaintiff in the Underlying Action allegedly was injured by a dangerous and

defective condition—a defective dock plate—on the premises of a loading dock at Princeton

University.

       5.      Unitex and/or Unitex Rental Services are not entitled to coverage under the Policy

for the Third Party Complaint because: (i) the bodily injury and resulting damages alleged in the

Underlying Action are not encompassed within the Policy because the alleged bodily injury was

not caused by an accident resulting from the ownership, maintenance or use of a covered auto;

(ii) the contractual indemnification claim asserted against Unitex Rental Services in the Third

Party Complaint is a breach of contract claim that is not encompassed within the Policy; (iii)

coverage is excluded by the exclusion for “Employee Indemnification and Employer’s

Liability”; and (iv) coverage is excluded by the exclusion for “Handling of Property”.


                                           PARTIES

       6.      MAIC is an insurance company incorporated under the laws of the

Commonwealth of Pennsylvania with its principal place of business at 380 Sentry Parkway, Blue

Bell, PA 19422-0754.

       7.      Unitex is a Delaware limited liability company with its principal place of business

located at 565 Taxter Road, Suite 620, Elmsford, NY 10523.


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        8.      Upon information and belief, Unitex Rental Services is a New York corporation

with its principal place of business located at 565 Taxter Road, Suite 620, Elmsford, NY 10523.

        9.      Unitex and Unitex Rental Services conduct business in New Jersey, including

business with Princeton University, which gave rise to the Underlying Action.


                                 JURISDICTION AND VENUE

        10.     Unitex and Unitex Rental Services are subject to the jurisdiction of this Court

because, upon information and belief, they regularly conducts business in this District, including

through business relationship with Princeton University.

        11.     This Court has jurisdiction pursuant to diversity jurisdiction under 28 U.S.C. §

1332 because the amount in controversy is over $75,000 and the lawsuit involves citizens of

different states.

        12.     This action is also brought pursuant to the Declaratory Judgments Act, 28 U.S.C.

§ 2201.

        13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events giving rise to the claims occurred in this District and Unitex and Unitex Rental

Services are subject to this Court’s personal jurisdiction and, therefore, resides in this District.


                                   FACTUAL BACKGROUND

                                      The Underlying Action

        14.     Plaintiff in the Underlying Action, Chad Cummings (“Cummings”), upon

information and belief is an employee of Unitex Rental Services.




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         15.       Cummings filed his Complaint in the Underlying Action (the “Complaint”) on or

about May 18, 2023 against Princeton, John Does 1-10 and John Doe Corporations 1-10.1 A true

and correct copy of the Complaint is attached hereto, and made a part hereof, as Exhibit “A”.

         16.       Cummings alleges in the Complaint that on November 7, 2022, he was making a

delivery for his employer at the McCosh infirmary at Princeton University. See Complaint at ¶4.

         17.       Cummings alleges that he pulled the truck he was driving into the loading dock.

Id.

         18.       Cummings further alleges that he “entered the loading dock, and placed a loading

dock plate on his dock and the truck, and when [sic] the loading dock plate failed and caused the

Plaintiff to fall due to certain conditions, which caused Plaintiff to sustain severe and permanent

physical injuries in and about his body.” Id. at ¶5.

         19.       Based on these allegations, the Complaint asserts a single count for “Negligence

and Premises Liability” against Princeton, John Does 1-10 and John Doe Corporations 1-10. Id.

at ¶¶7-18.

         20.       As part of this count, Cummings alleges that “Defendants … carelessly and

negligently created or allowed dangerous and defective condition(s), including but not limited to,

the defective, broken, or improperly maintained loading dock plate, to remain on the premises

for an unreasonable period of time.” Id. at ¶10.

         21.       Cummings’ Complaint clearly alleges that he was injured as a result of the

defective condition of the loading dock caused by the dock plate. Id. at ¶¶11-14.




1
  Cummings alleges in the Complaint that John Does 1-10 and John Doe Corporations 1-10 “are fictitious persons
operating as ‘Princeton University’ or ‘McCosh Infirmary,’ or who were responsible for the maintenance of the
loading dock plate, whose correct or legal identities are presently unknown, or are otherwise persons or entities
bearing liability or responsibility for their involvement with the Plaintiff’s injury, but whose identities or liability is
presently unknown to the Plaintiffs, or against whom Plaintiff cannot plead in good faith.” See Complaint at ¶6.


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                                    The Third Party Complaint

        22.     Princeton filed the Third Party Complaint against Unitex Rental Services on or

about July 5, 2023. A true and correct copy of Princeton’s Answer to Complaint, Affirmative

Defenses and Designation of Trial Counsel, and Third Party Complaint is attached hereto, and

made a part hereof, as Exhibit “B”.

        23.     The Third Party Complaint contains two counts: (i) Count One for contractual

indemnification; and (ii) Count Two for common law indemnification and/or contribution. See

Exhibit B, Third Party Complaint at p. 6-8.

        24.     In support of Count One, Princeton alleges that Unitex Rental Services and it

entered into a contract, effective January 1, 2022, which contained an indemnification provision

requiring Unitex Rental Services to indemnify Princeton for certain claims, however, Unitex

Rental Services is not required to indemnify Princeton “in the event University is proven to be

solely negligent.” Id. at ¶¶8-9.

        25.     Princeton further alleges in the Third Party Complaint that “[b]ased on Plaintiff’s

allegations, the alleged fault is not exclusively that of Princeton[.]” Id. at ¶12.


                                              The Policy

        26.     MAIC issued the Policy to Unitex. A true and correct copy of the Policy is

attached hereto, and made a part hereof, as Exhibit “C”.

        27.     The Business Auto Coverage Form of the Policy provides, in relevant part, the

following grant of coverage:

                A. Coverage

                We will pay all sums an “insured” legally must pay as damages
                because of “bodily injury” or “property damage” to which this




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                  insurance applies, caused by an “accident” and resulting from the
                  ownership, maintenance or use of a covered “auto”.

See Policy, Business Auto Coverage Form, §II(A).

         28.      In addition, the Business Auto Coverage Form of the Policy contains the

following exclusions for “Employee Indemnification and Employer’s Liability” (“Exclusion 4”)

the “Handling of Property (“Exclusion 7”):

                  This insurance does not apply to any of the following:

                                                        ****

                  4. Employee Indemnification And Employer's

                  Liability

                  "Bodily injury" to:

                  a. An "employee" of the "insured" arising out of
                  and in the course of:

                  (1) Employment by the "insured"; or
                  (2) Performing the duties related to the
                  conduct of the "insured's" business;
                                                  ****
                  But this exclusion does not apply to … liability assumed by the
                  “insured” under an “insured contract.”2

                                                        ****

                  7. Handling Of Property

                  "Bodily injury" or "property damage" resulting from the handling
                  of property:

                  a. Before it is moved from the place where it is accepted by the
                  "insured" for movement into or onto the covered "auto"; or

                  b. After it is moved from the covered "auto" to the place where it is
                  finally delivered by the "insured".

2
  The Policy defines the term “insured contract,” in relevant part, as “That part of any contract or agreement
pertaining to your business … under which you assume the tort liability of another to pay for ‘bodily injury’ or
‘property damage’ to a third party or organization. Tort liability means a liability that would be imposed by law in
the absence of any contract or agreement[.]” See Policy, Business Auto Coverage Form, §V(H)(5).


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Id. at §II(B)(4) and (7).

                       There is no Coverage Under the Policy for
 Unitex or Unitex Rental Services for the Third Party Complaint in the Underlying Action

        29.     Unitex and/or Unitex Rental Services sought coverage under the Policy for the

Third Party Complaint.

        30.     MAIC denied this request for coverage because MAIC has no duty to defend or

indemnify Unitex and/or Unitex Rental Services under the Policy for the Third Party Complaint.

        31.     Based on the allegations of Underlying Action, MAIC has no duty to defend or

indemnify Unitex and/or Unitex Rental Services under the Policy for the Third Party Complaint

for four reasons.

         A. The Bodily Injury Alleged in the Complaint was not Caused by an Accident
            Resulting From the Ownership, Maintenance or use of a Covered Auto

        32.     First, Cummings’ alleged bodily injury and resulting alleged damages are not

encompassed within the Policy because his alleged bodily injury was not caused by an accident

resulting from the ownership, maintenance or use of a covered auto.

        33.     The Complaint in the Underlying Action does not allege any injury resulting from

the ownership or maintenance of a covered auto.

        34.     With respect to an injury resulting from the use of a covered auto, under New

Jersey Law, an injury that occurs as a result of negligent defects on the premises is not covered

by an automobile insurance policy, even if the injury occurs during the loading or unloading

process, because such injury does not result from the use of the automobile. See, e.g., Forsythe v.

Teledyne Turner Tube, 508 A.2d 1156, 116061 (N.J. Super., App. Div. 1986).




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          35.   Cummings’ bodily injury, as alleged in the Complaint and the Third party

Complaint, was caused by an accident that resulted from the dangerous and defective condition

of Princeton University’s loading dock (i.e., the defective dock plate).

          36.   Such injury does not constitute bodily injury that was caused by an accident

resulting from the use of a covered auto.

          37.   Accordingly, the injury and resulting damages alleged in the Underlying Action

are not encompassed within the coverage provided by the Policy under Section II(A) of the

Business Auto Coverage Form.

          38.   Rather, such an injury and damages should be covered by a general liability

policy.

          B. The Contractual Indemnification Claim is a Breach of Contract Claim

          39.   Second, the contractual indemnification claim asserted against Unitex Rental

Services in the Third Party Complaint is a breach of contract claim that is not encompassed

within the Policy.

          40.   The Policy provides coverage for “all sums an ‘insured’ legally must pay as

damages because of ‘bodily injury’ or ‘property damage’ to which this insurance applies, caused

by an ‘accident’ and resulting from the ownership, maintenance or use of a covered ‘auto’.” See

Policy, Business Auto Coverage Form, §II(A).

          41.   The contractual indemnification claim in the Third Party Complaint alleges that

Unitex Rental Services breached its purported contractual obligation to indemnify Princeton.

          42.   The Policy does not provide coverage for a breach of contract claim.

          43.   As such, the contractual indemnification claim is not covered by the Policy.




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        C. Exclusion 4 Excludes Coverage

       44.     Third, even if the grant of coverage encompassed the injury and resulting

damages alleged in the Underlying Action (which it does not), coverage is excluded by

Exclusion 4.

       45.     Based on the allegations in the Complaint in the Underlying Action, Cummings

suffered “bodily injury” in the course of his employment with Unitex Rental Services while

performing duties related to Unitex Rental Services’ business.

       46.     As such, Exclusion 4 applies and bars coverage.

       47.     The exception in Exclusion 4 for liability assumed under an “insured contract” is

inapplicable because in the Complaint Cummings only alleges that Princeton was negligent.

       48.     As a result, the contractual indemnification provision cited in the Third Party

Complaint is inapplicable because it expressly states that Unitex Rental Services is not required

to indemnify Princeton “in the event University is proven to be solely negligent.” See Third party

Complaint. at ¶¶8-9.

       49.     While Princeton alleges in the Third Party Complaint Princeton that “the alleged

fault is not exclusively that of Princeton” (see id. at ¶12), there is no basis for this allegation

where the Complaint only alleges negligence against Princeton and such an allegation cannot

change the allegations of the Complaint.

       50.     Accordingly, Exclusion 4 applies, the Complaint alleges sole negligence on the

part of Princeton, the exception to Exclusion 4 is inapplicable and, as a result, any coverage is

excluded by Exclusion 4.




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        D. Exclusion 7 Excludes Coverage

       51.     Fourth, even if the grant of coverage encompassed the injury and resulting

damages alleged in the Underlying Action (which it does not), coverage is excluded by

Exclusion 7.

       52.     Based on the on the allegations in the Underlying Action and the Third Party

Complaint, Cummings alleged injury occurred after the materials he was delivering had been

moved from his truck to the place on the loading dock where they were to be delivered to

Princeton University.

       53.     Consequently, Cummings had completed the unloading operation and, as a result,

any coverage is excluded by Section (b) of Exclusion 7.

       54.     Accordingly, MAIC has no duty to defend or indemnify Unitex and/or Unitex

Rental Services with respect to the Third Party Complaint.


               COUNT I – DECLARATORY JUDGMENT (28 U.S.C. § 2201)

       55.     MAIC incorporates the averments of Paragraph 1 through 54 of this Complaint as

though set forth fully.

       56.     There is a real and live dispute between the parties concerning whether MAIC has

a duty to defend or indemnify Unitex and/or Unitex Rental Services under the Policy for the

Third Party Complaint.

       57.     As set forth above, Cummings’ alleged bodily injury and resulting alleged

damages are not encompassed within the Policy because his alleged bodily injury was not caused

by an accident resulting from the ownership, maintenance or use of a covered auto.




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       58.     As set forth above, the contractual indemnification claim asserted against Unitex

Rental Services in the Third Party Complaint is a breach of contract claim that is not

encompassed within the Policy.

       59.     As set forth above, even if the grant of coverage encompassed the injury and

resulting damages alleged in the Underlying Action (which it does not), coverage is excluded by

Exclusion 4.

       60.     As set forth above, even if the grant of coverage encompassed the injury and

resulting damages alleged in the Underlying Action (which it does not), coverage is excluded by

Exclusion 7.

       61.     Accordingly, MAIC has no duty to defend or indemnify Unitex and/or Unitex

Rental Services under the Policy for the Third Party Complaint.

       62.     MAIC seeks a declaration that it has no duty to defend or indemnify Unitex

and/or Unitex Rental Services under the Policy with respect to the Third Party Complaint

because: (i) Cummings’ alleged bodily injury and resulting alleged damages are not

encompassed within the Policy because his alleged bodily injury was not caused by an accident

resulting from the ownership, maintenance or use of a covered auto; (ii) the contractual

indemnification claim asserted against Unitex Rental Services in the Third Party Complaint is a

breach of contract claim that is not encompassed within the Policy; (iii) Exclusion 4 excludes

coverage; and (iv) Exclusion 7 excludes coverage.

       WHEREFORE, MAIC requests that this Court enter an Order declaring that MAIC has

no duty to defend or indemnify Unitex and/or Unitex Rental Services under the Policy with

respect to the Third Party Complaint.




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                                      /s/ Steven J. Engelmyer
Dated: May 21, 2024                   KLEINBARD LLC
                                      Steven J. Engelmyer (No. 42840)
                                      Eric J. Schreiner (No. 76721)
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                                      Philadelphia, PA 19103
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                                      Insurance Company




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                            EXHIBIT A
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   Filing Attorney:                    Matthew H. Mueller
   Attorney ID:                        042202010

   CLEMENTE MUELLER, P.A.
   ATTORNEYS AT LAW
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   Office:      222 Ridgedale Avenue, 2™ Floor
             Cedar Knolls, New Jersey 07927
    Mail:    Post Office Box 1296
             Morristown, New Jersey 07962-1296
    (973) 455-8008
    Attommeys for Plaintiff, Chad Cummings
    Out File No. 5189.00001



     CHAD CUMMINGS,                                                        SUPERIOR COURT OF NEW JERSEY
                                                                                    LAW DIVISION
                             Plaintiff,                                          MIDDLESEX COUNTY

                 vs.                                                       Docket No.:

     TRUSTEES OF PRINCETON                                                                 Civil Action
     UNIVERSITY D/B/A PRINCETON
     UNIVERSITY;                                                           COMPLAINT JURY DEMAND, AND
     JOHN DOES 1-10,                                                          DESIGNATION OF TRIAL
     JOHN DOE CORPORATIONS 1-10;                                                           COUNSEL

                             Defendant(s)


                Plaintiff, Chad Cummings, (hereinafter “Plaintiff’), residing 224 Hamilton Street, Apt 1,

    New Brunswick, NJ 08901, within the City of New Brunswick, the County of Middlesex, and the

    State of New Jersey, complaining of the Defendant(s), states:

                                                   BACKGROUND AND                 PARTIES

                1,          At all relevant times herein, the Plaintiff Chad Cummings is a natural person

    residing 224 Hamilton Street, Apt. 1, New Brunswick, NJ 08901, within the City of New

    Brunswick, the County of Middlesex, and the State of New Jersey.

                2.          At all relevant times herein, the Defendant, Trustees of Princeton University, is a

     private,        not-for-profit,   bd   nonsectarian    institution,    operating    and   doing   business   as “Princeton
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   University” in Princeton, New Jersey, within the Borough of Princeton, the County of Mercer, and

   the State of New Jersey.

           3.      At all relevant times, the Plaintiff is and was employed as truck driver.

           4.      On or about the morning of November 7, 2022, the day of the subject incident, the

   Plaintiff was making a delivery for his employer at the McCosh infirmary at Princeton University,

   and pulled the truck he was driving into loading dock.

           5.      The Plaintiff entered the loading dock, and placed a loading dock plate on his dock

   and the truck, and when the loading dock plate failed and caused the Plaintiff to fall due to certain

   defective conditions, which caused Plaintiff to sustain severe and permanent physical injuries in

   and about his body.

           6.      At all relevant times        herein, the Defendants,    John Does    1-10 and John Doe

    Corporations   1-10   are   fictitious   persons   operating   as “Princeton   University”   or “McCosh

    Infirmary,” or who were responsible for the maintenance of the loading dock plate, whose correct

    or legal identities are presently unknown, or are otherwise persons or entities bearing liability or

    responsibility for their involvement with the Plaintiff's injury, but whose identities or liability is

    presently unknown to the Plaintiffs, or against whom Plaintiff cannot plead against in good faith.

                                           COUNT ONE
                                NEGLIGENCE AND PREMISES LIABILITY

            7.     Plaintiff repeats, re-alleges, reiterates, and incorporates by reference each and every

    preceding paragraph as if set forth at length herein.

            8.      On or about the morning of November 7, 2022, the Plaintiff was lawfully on the

    Defendant’s premises known as the McCosh infirmary at Princeton University.
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              2:        At the aforesaid date and time, Plaintiff was caused to suffer serious and permanent

   injuries        as a result of the unreasonable     and negligent     actions   of Defendants,   and/or its

   agents/employees.

              10.        Atthe aforesaid date and time, and for some time prior thereto, Defendants, acting

   personally and/or by and through their agents, servants, workmen and/or employees, acting as

   aforesaid, carelessly and negligently created or allowed dangerous and defective condition(s),

   including but not limited to, the defective, broken, or improperly maintained loading dock plate,

    to remain on the premises for an unreasonable period of time.

               11.      All Defendants created a dangerous condition and/or had actual and/or constructive

    notice of the dangerous condition in the areas where the Plaintiff sustained injuries.

               12.      At the aforesaid date and time, as a direct and proximate result of the aforesaid

    Defendants’ negligence, carelessness, failure to inspect their property, failure to warn of dangerous

    conditions on their property, and other improper conduct, Plaintiff was caused to suffer serious

    and permanent injuries in and about his body as a result of the aforesaid dangerous or defective

    condition(s), on Defendant’s aforesaid property.        ~

               13.      All Defendants failed to take any action to correct said dangerous condition, failed

    to warn, failed to caution, failed to advise the Plaintiff of the dangerous and defective condition(s),

    and/or were otherwise careless and negligent.

               14.       All Defendants owed a duty of care to Plaintiff to operate their material and

    machinery in a safe and proper manner, to maintain proper upkeep and maintenance of their

    material, machinery, and loading dock plates, as well as to remain alert and observe others while

    operating their material, machinery and loading dock plates.
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           15.     All Defendants failed to operate their material and machinery in a safe and proper

   manner, to maintain proper upkeep and maintenance of their material and machinery, as well as to

   remain alert and observe others while operating their material and machinery.

           16.      All Defendants owed Plaintiff a duty of care to avoid enlisting or requesting

   Plaintiff to engage in a technical task for which he was neither qualified nor received the proper

   training, and to provide adequate warnings, safety equipment, notice or precautions to Plaintiff.

            17.   _ All Defendants, enlisted or requested Plaintiff to engage in a technical task for

   which he was neither qualified nor received the proper training, and failed to provide adequate

   warnings, safety equipment, notice or precautions to Plaintiff.

            18.     As a direct, proximate and foreseeable result of the carelessness, recklessness,

   negligence, or other improper conduct of the Defendants, the Plaintiff sustained severe and

   permanent physical injuries, lost wages and other economic and non-economic damages, suffers

   and will suffer great pain and anguish; and was and will be required to seek medical assistance.

            WHEREFORE,        the Plaintiff demands judgment against all Defendants, jointly, severally,

    individually and in the alternative on the Complaint for compensatory damages, punitive damages,

    attorneys’ fees, interest and costs of suit.

                                       DEMAND FOR JURY TRIAL

            Plaintiff hereby demands a trial by jury as to all issues.

                                 DESIGNATION OF TRIAL COUNSEL

            Please take notice that Matthew H. Mueller, Esq. is hereby designated a trial counsel for

    the Plaintiff in the captioned matter pursuant to rule 4:25-4.

                    DEMAND FOR ANSWERS TO FORM INTERROGATORIES

            Plaintiff demands that Defendants to provide answers to Form C and C(2) interrogatories.
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                             CERTIFICATION PURSUANT TO RULE 4:5-1

        . I am an attorney for the Plaintiff in the above-captioned matter and am filing this

            Certification pursuant to Rule 4:5-1.

            I hereby certify that the matter in controversy is not the subject of any other action pending

            in any other court, except for the following:

                a.   None.

            I further certify that the within matter is not pending in any arbitration proceeding and, as

            of the date of the filing of this Certification, no such arbitration proceeding is contemplated.

            I further certify that no additional parties should be joined in the within action.



                                                                         CLEMENTE MUELLER, P.A.
                                                                                     Attorneys for Plaintiff

                                                                               By:_s/ Matthew H. Mueller
                                                         [electronic signature pursuant to R. 1:32-2A(c}]
                                                                                     Matthew H. Mueller

   Dated:            May 18, 2023
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                            EXHIBIT B
    Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 21 of 155 PageID: 21



Edward G. Spanzilli,     Esq. (Atty. 1)» 013701975)
   3RRIS MclLAUGHLIN, PA.


isridgewater, $8 G8807-5933
POS) 722-0700
attoeneys for Defendants

                                                                         SUPERIOR      COURT OF NEW JERSEY
“CHAD CUMMINGS,
                                                                         LAW DIVISION: MIDDLESEX COUNTY
            Plainte,
                                                                         DOCKET      NO.   MID-L-28 368-23


     USTEES OF PRINCETON UNIVERSITY DiMA
  F
 PRINC
  Hy    ETON UNIVERSITY;
                                         1-10;
 IHN DOES 1-10, JOHN DOE CORPORATIONS
                                                                                              SUMMING
             Defendants/Third Party Plaintiff,

  Y foe
  ‘ta9




  UNETEX      TEXTILE KENTAL         SERVICES,      INC,

             Third Party Defendan,

Prant The State of New Jcreey                                                                                            INC.
                                                             UNYTEX TEXTILE                RENTAL       SERVICES,
vo "Phe Third Party Defendant Named Above:
                                                                                    Court of New fersey. The third party complaint
      Yhe plaintiff, named above, bas filed a lawsuit against you in the Superior
                                                                             this complains, you or your allorney must file a writien
 aiached to this summons states the basis for this lawsuit. Ifyou dispure
                                                                    of  the Superior  Count in the county listed above within 3$ days from
 suswer or motion and proofof service with the deputy clerk                                           addresses of euch depuly clerk of
                                                              you received it. (A directory of ihe
 the date you received this suminons, not counting the da’e
 ihe Superior Court is availad  t  in the Civil Givision Manage  ment Office in the county listed abave and online it
                                                                                                                                mast file
                                                                  el. pdt) Ifthe complaint is ave in foreclosure, then you
 hiipyvawway judiciary stale. nj asspro se/ td) $3 deptyc'erklawr                                     Justice Complex .  P.O,   Box 97},
                                                                 Clerk of the Superior Court, Hughes
 vonur rien answer or motion and proof of service with the                                   and a complet ed  Case Informa   tion
                                                                  r, Stale of New    Jersey
  Pyanntor, NJ 08628-0971. A fling feo payable to the Treasure                                                          itis filed, You
                                                                       must accompany your answer or motion whea
  Setement (available from the deputy clerk of the Superior Court)
                                        cr motion  to nlaintilf 's attorney whose name and address appear above, or to plaintiff. ifno
  nist also send a copy of your an-wer                                                          written answer or motion (with fee of
                                                                                         and serve a
  alloraey 1s named above   & &lephon + call will not prolect your rights; you must file
                                                     t) Uf you want  the  court to hear your defense.
  £175.00 and completed C ‘ase Jnformtian Statemen
                                                                                   court may enter a judgment against you for the
            ou do pot fie an? serve a weilten answer or motion within 35 days, the                     f may seize your money,
                                                                                    d agains! you, tae Sherif
                iff demands, olus interest and casts of suri, If judgment is enicre
           or property © pay all br part of the judgment.
                                                                             office in the county where you live or the Lega! Services of
         H you cannot afford an atterney, You may call the Legal Services
                                                                          . Ifyou do not have an attorney and are not eligible for free
   New Jersey Statewide Hothhie at 1_R88-LSWIELAW (16888-576-5529)
                                                                                  the Lawyer Referral Services. A directory with contact
   joval assistanes, wou may obtain a referral to aa attorney by calling onc of
                                                                         Services   is available in the Civil Division Management Office
   infarmation for local Legal Services Offices and Lawyer Referral                                      erklawref.pal
                                                                        us/pro             10153   deptycl
   in she coumty listed above and online at hupsi/www judiciary state.)
                                                                                                    isi Michelle M. Smith        =          =
 Maledd:      JULY 6, 2023
                                                                                           MICHELLE      M. SMIT?I
                                                                                           Clerk of the Superior Court


                                                    UNITEX       TEXTILE         RENTAL        SERVICES,        IN.
 ‘ame of Defendant to be Served:
  Address of Defendant lo he Served                 c/o Greenbaum, Rowe, Smith & Davis, Registered Agent
                                                    99 5, Wood Avenue
                                                    Iselin, NJ 98830
   Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 22 of 155 PageID: 22


                                              GLOUCESTER COUNTY                             OCEAN COUNTY
ATLANTIC COUNTY                                                                             Deputy Clerk of the Superior Court
   ay Clerk of the Superior Court             Deputy Clerk of the Superior Court
                                              Civil Case Management        Olfice           Court House, Room      (21
       } Division. Dircet Piling                                                            118 Washington Street
                           First FL.          Ata make
                                              First FL. Court House                         Tonss River, NJ 08754
                                              ! North Broad Steet, P.O, Bex 129             LAWYER REPERRAL, (732) 240-3666
  AWYER en, (609) 345-3444                                                                  LEGAL SERVICES (732) 341-2727
, PGAL SERVICES (609) 348-4200                Woodbury,NJ 08096
                                              LAWYER REFERRAL (856) 848-1589
                                                                                            PASSAIC COUNTY
BERGEN        COUNTY:                         LEGA]. SERVICES (856) 848-5360
                                                                                            Deputy Clerk of the Supenor Court
            ark of the Superior Court
                                              HUDSON COUNTY                                 Civil Division
Ciel Division, Room 115
                                              Deputy Clerk of the Superior Court            Court House
Justice Center, 10 Main Street
                                              Superior Court, Civil Records Dept.           77 Wamilton Street
           ck. NJ 07601-0769
                                                                                            Paterson. NJ 07505
               REFERRAL      (209) 488-0044   Brennan Court House - {si Fleor
                                              583 Newark Avenuc                             LAWYER REFERRAL (973) 278-9223
            SERVICES      (201) 487-2156                                                    LEGAL SERVICES (973) 523-2900
                                              Jersey City, NJ    07306
                                              LAWYER      REFERRAL         (201) 798-2727
HUGLENGTON COUNTY                                                                           SALEM COUNTY
   vty Clerk of the Superior Cont             LEGAL SERVICES (201) 792-6363
                                                                                            Deputy Clerk of the Superior Court
       Processing Office
                                              HEUINTERDON COUNTY                            02 Markel Street
      Tidicial intake
                                              Deputy Clerk of the Superior Court            Salem, NJ 08079
        sor, Courts Facibly
                                              Civil Division                                LAWYER REFERRAL, (856) 935-5629
#9 Rancocas Rd.                                                                             LEGAL SERVICES (856) 697-0404
 Mount Holly, NJ 08060                        65 Park Avenge
                                              Flemington, NI 08862
LAWYER REFERRAL (G09) 261-7862                                                              SOMERSET        COUNTY
 ALGAL SERVICES (G09) 26: - L088              LAWYER IGEFERRAL (908) 236-6409
                                              LtEEGAL SERVICES (908) 782-7979                Jeputy Clerk of the Superior Court
                                                                                            Civil Division Oftice
   AMEN COUNTY
                                              MERCER     COUNTY                             PO. Boa 3000
    sub Clerk of the Superior Coun
                                              Deputy Clerk of the Superior Court            JON, Bridge Sircet
Civil Processing Office
                                              Local Filing Office, Court House              Somerville, NI 08876
itPL. Mall of Reeords
                                              175 5. Broad Steet, P.O. Box 8068             i, au pees pie 5 SRAL os) Gos —
 ful S. Fifth Steeet
f        no NE 08103                          Trenton. NJ 08650
              U REFERRAL, (856) 482-9618      LAWYER REFERRAL (G09) 385-6200
                                              LEGAL SERVICES (609) 695-0249                 SUSSEX COUNTY
          iL SERVICES (855) 904-2618                                                        Depuiy Cierk of the Superior Court
                                               MIDDLESEX        COUNTY                      Sussex County Judicial Center
 CAPE MAY COUNTY                                                                            43-47 [igh Street
    suty Cler§ of the Superior Court          Deputy clerk of the Superior Court
                                              Middlesex Vicinage                            Newton,   NJ   07860
       drat Processing Offee
                                              2" F loor~ Tower                              LAWYER REFERRAL (073) 267-5882
 4.2      Main Strect
                                               46 Paterson St. PO Box 2633                  LEGAL SERVICES (973) 383-7400
 Bas    DN-209
                                               New Brunswick, NJ 08903-2633
Cape May Camily Court House. NJ 08210                                                        UNION COUNTY
                                               LAWYER     REFERRAL (732) 828-0053
LAWYER REFERRAL (609) 462-0313                                                               Deputy Clerk ef the Superior Court
                                               LEGAL    SERVICES         (732) 246-7600
LEGAL SERVICES (609; 468-290)                                                                ist FL, Court House
                                               MONMOUTH          COUNTY                      2 Broad Street
                                               Deputy Clerk of the Superior Cour!            Vligabeth, NE 07207-6075
                                               Court House                                   LAWYER REFERRAL (O08) 3538-4715
                 Lanigement alfice€
                                               P.O. Box 1269                                 LEGAL SERVICES (908) 354-4540
 A Wood Broad Streei
 BOs Parix PO                                  Vreehald. $3     07728-1262
                                               LAWYER REFERRAL (732) 431-5544                WARREN COUNTY
 Pridsicton, Nl
                                               LEGAL SERVICES (732) 866-0020                 Depuly Clerk of the Superior Court
 LAWYER REP RRAL ($56) 686-5550                                                              Cril Dh ision Office
 i GAL SERVICES (856) 691-0494
                                               MORRIS    COUNTY                              Court (louse
                                               Deputy Clerk othe Superior Cour!                   Second Suet
  JSSEX COUNTY                                                                               j        e.NJ 0? 825-1550
 Hacputy Clerk of Ure Superior Court
                                               Civil Div sian
                                               Washington & Court Streets                     LAWYER REFERRAL (968) 859-4300
 ¢ wil Customes Series
                                                                                             LEGAL.   SERVICES       (9083 975-2010
 tiall of Records. Room 20]                    PO Box ILO
       3.90, Martin Luther King Jr. Blvd.      Morristown, NJ 07960-0910
 reewark, NJ      07102                        LAWYER REFERRAL (973) 267-5882
         WYER REFERRAL (973) 622-6204          LEGAL SERVICES (973) 285-911
       EAL SERVICES (973) 624-4500
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 23 of 155 PageID: 23
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          MID-L-002838-23




   edwardG. Sponzilli, Esq. (Atty. 1D #0137 'O1975)
   NORRIS McLAUGHLiN, P.A
   406 Crossing Boulevard,8gt Floor
   P.O. Box 5933
   Bridgewater, NJ 08807-5933
   (908) 722-0700
   Attorneys for Defendants

   “SHAD CUMMINGS,                                             SUPERIOR COURT OF NEW JERSEY
                                                               LAW DIVISION: MIDDLESEX COUNTY
             Plaintiff,
    vs.                                                        DOCKETNO. MID-L-2838-23

    TRUS            TE
              OF PRINC ETON ESUNIVERSITY
    D/B/A PRINCETON   UNIVE RSITY :                                            CIVIL ACTION
    JOHN DOES 1-16, JCHN  DOE
    CORPORATIONS 1-10;                                             ANSWER TO COMPLAINT.
                                                                 AFFIRMATIVE DEFENSES AND
                                                                DESIGN         TRIALIO
                                                                            OF AT       N
                                                                                     COUNS EL,
              Defendaats/Third Party Plaintiff.                                    PARTY    COMPLAINT
                                                                   AND THIRD
    VS.


     UNITEX TEXTILE RENTAL SERVICES, INC.,

             Tr hird Party Defendant.

                                                                     or “Defendant™).         | Nassau
            Defendant, Trustees of Princeton University (“Princeton”
                                                                               says:
    Street, Princeton, New    Jersey 08542, by way of Answer to the Complaint,

                                        As to Background and Parties

                                                                      sufficient to form a belief as to
             1,       Linfvendaat is without knowledge or information

                                                            1 of the Complaint.
                         2 tions contained in pparagra f sh
    the truth of the allega

                                                                                   education located in
                      Defendant adinits that it is a private institution of higher
            ft




    Princeton, Mercer County, New Jersey.

                                                                            ent to form a beliefas to
             3.       Defendant is without knowledge or information suffici

                                                             the Complaint.
    the truth of the atlegations contained in paragraph 3 of




     (2198932
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 24 of 155 PageID: 24
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        MID-L.-002838: 23




                                                                     sufficient to form a beliefas to
           4,          Defendant is without knowledge or information

                                                       4 of the Complaint.
   the truth of the allegations contained in paragraph
                                                                     sufficient to form a belief as to
           5.          Defendant is without knowledge or information

                                                       5 of the Complaint.
   the truth of the allegations contained in paragraph
                                                                        bear any liability for Plainull’s
           6.          Defendant denies that it er any of its employees

   atlegest injury.

                                             COUNT ONE
                              AS TU PLAINTI®F'S  CLAIM OF NEGLIGENCE
                                      AND PREMISES LIABILITY

                                                                           nses to the allegations
            7.         Defendant repeats and makes a part hereof its respo

                                                    aint, as if same where fully set forth at length
   contained in paragraphs | through 6 of the Compl



                                                                         (ficient to forma belicfas to
            g,          Oefendant is without knowicdge or information su

                                                       8 of the Complaint.
   the truth of the allegations contained i: paragraph
                                                                             aph 9 of the Complaint.
                9,      Deferdant denies ine allegations contained in paragr

                                                                             aph 10 of the Complaint.
                10,     Gefendant denies the allegations contained in paragr
                                                                                [1 of the Complaint.
                 1.     Defendant denies the allegations contained in paragraph

                                                                                12 of the Complaint.
                 12.    Defendant denies the allegations contained in paragraph
                                                                                      the Complaint.
                 13.    Defendant denies the allegations contained in paragraph 13 of
                                                                                  er, to the extent there was
                 14.    Defendant deiiles that it owed a duty to Plaintiff, howev

    a duty, there was no breach thereot.
                                                                                {5 of the Complaint.
                 15.    Defendant denies the allegations contained in paragraph
                                                                                       r, to the extent there
                 16.    Defendant denies having a duty of care as to Plaintiff, howeve

                                                                 ant ts without knowledge or
    was a duty, there was 110 breach thereof, except that Defend
                                                          hw
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 25 of 155 PageID: 25
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                                                                             was qualified or trained to
   inforpiation sufficient to form a beliefas te the truth of what Plaintiff

   do.
                                                                                       Complaint.
            17,      Defendant denics the allegations contained in paragraph 17 of the

            18.      Defencant denies the allegations contained in paragraph 18 of the Complaint.

            WHEREFORE,            Defendant   demands judgment       in its favor dismissing the Complaint with

                                                                          deems equitable or jusi.
   prejudice and costs and for such other and further relief as the Court

                                              SEPARATE DEFENSES
                                          FIRST SEPARATE             DEFENSE

                                                                                   nt upon which retiet
            Plaintiff's Complaini fails to state a cause of action avainst Befenda

                                                                        before the time © (trial to
   can be aranted and Defendant hereby reserves the right to move at or

   disniss said Complaiat.

                                        SECOND SEPARATE DEFENSE

                                                                                     le statute of
            This action is sarred by Plainti'f’s failure to comply with the applicab

    limitations. or if not. the action is barred by the doctrine of laches,

                                          THIRD SEPARATE DEFENSE

            Defendant owed no duty to Plaintit

                                         FOURTH     SEPARATE DEFENSE

                                                                                        and in
            Allemployees and/or agents of Defendant acted as reasonably prudent persons

    ood faith at all times relevant thereto.

                                          €IFTH SEPARATE DEFENSE

             if Plaintiff sustained any injury or incurred any loss or damage as alleged in the

                                                                                persons other than
    Complaint, the same was caused by the supervening or intervening conduct of

     Defendant for whose conduct Defendant is not responsible. or with whom Defendant had no
     i
                                                            Mad
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 26 of 155 PageID: 26
                                                             Acaf18    Trans IO: LOV202326




   legal retation or legal duty to contrcl.

                                      SIXTH SEPARATE DEFENSE
                                                                                   or omissions,
           Plaintiff's in‘uries and damages, W any, were solely caused by the acts

                                                                       or parties over whom
   abuse or misuse. negligence or fault or otherwise, of third persons
                                                                  are not, therefore, imputable ta
   Defendant had no control or righi to control and whose actions

   Defendant.

                                    SEVENTH SEPARATE            DEFENSE

                                                                                 .
           Defendant did unt proximately cause any injury or damage to Plaintiff

                                     RIGHTH SEPARATE           DEFENSE

                                                                                         nt since
           Plaintiff's alleged damages, if'any, are nol recove srable as against Defenda

                                                                                 ice with the laws
          has failed and/or refised to miipate his purported damages in accordar
   Dtaintify

   af the State of New Jersey.

                                       NINTH SEPARATE DEFENSE

                                                                                         actions.
           Plaintiff's alleged injuries and damages. if any, were the re sult of his awn
                                                                                       Alternatively,
   inuetions, or otier course of wrongful, reckiess, intentional or negligent conduct.
                                                                                 ce on the part of
   the Plaintiff's own negligence and carelessness was greater than any negligen

                                                                        of the contributory and
   Defendant and therefore recovery must be barred or reduced by reason
                                                                       seq
   comparative negligence provisions set forth in N.LS.A, 2A715-5.1 ef

                                      TENTR SEPARATE           DEFENSE

                                                                                      a de
            Plaintiff should have come to Defendant's premises fully equipped to make

                                                                                 t use   thereo
    without taking a dock plate trom Plaintiff's s premises. Plaintiffs negligen
                                                                                                       noa
                                                                                                             =x
                                                                                                             an
                                                                                                       is]
                                                                                                  *

                                                                                                      |=
                                                                                                      a
                                                                                                      i




    own injury.

                                    ELEVENTH       SEPARATE       DEFENSE

                                                                                            properly
            Plaintiff in using the dock plate did not adequately secure same and he did not
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 27 of 155 PageID: 27
                                                                  Po SoftS    Trenms iit        ri
         MAND-1, (0Z838-22        O7705/2023 4.52.10 PM




   position his track se tha: the dock plate would be secure.

                                      TWELITH        SEPARATE DEFENSE

                                                                                    dangerousor that the
              Plaint#Y has sot alleged, nor can he, that Defendant's pr emises were

   premises caused tis injury.

                                    THIRTEENTH          SEPARATE         DEFENSE

                                                                                   was the sole and
                      was neligent in his delivery to Defendant and his negligence
              Plaintiff

   exclusive cause of bis wajnre.

                                    FOURTEENTH          SEPARATE         DEFENSE

                                                                              es s and presumptions set forth
                                                                                                           we fe

              Defendant is enntied to, and clainis the benefit of. all defens
                                                                                       or any other lasy Found
   ip or éarising   frou ary’ rile of law or statute in the Slate of New Jersey.

   applicable in this redon.

                                          RESERVATION              OF RIGHTS

                                                                        g and assert additional Separate
              Defendant hereiy reserves the right to amend this pleadin

                                                          this pleading based upon the discovery ar
    Defenses. Cross-claim(s), and/or olherwise supplement
                                                                  canunuing discovery process.
    more definite and additinnal facts relative hereto during the

                               BEMAND        FOR STATEMENT             FOR DAMAGES

                                                                            ff furnish a written
               eursuant to Rule 4:5-2, Defendant hereby demand that Plainti

                                                              within five ($) days of service
    statement of the amount of dunages claimed from Defendant

    hereor,

                    DEMANE       KOR ANSWERS           TO UNIFORM            INTERROGATORIES

                                                                          demands that plainuff furnish
               Pursuant to R. 4:1 7-1, 2 and 4, et_seq., Defendant hereby

                                                                      Appendix II, Form A, together
    fully responsive and cetufied answers to Uniform Interrogatories,
                                                                                           if            ’

                           required therein, within sixty= (60) r days  of the service of the within pic sading.a
    with attachments                                                 Sf
                                                            val
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         MID-L-002838-25




                         DEMAND       FOR PRODUCTION              OF DOCUMENTS

                                                                  ff produce a true and complete
           Pursuant to Rule 4:18-2, Defendant demand that Plainti
                                                                    five (5) days of service hereof.
    copy of all documents referenced in Plaintiff’ Complaint within


                                     THIRD PARTY COMPLAINT

                                                                          ity (“Princeton” or
           Defendanv’Third Party Plaintiff. Trustees of Princeton Univers
                                                                           Third Party Complaint
    “Defendant’),   | Nassau Street, Princeton, New Jersey 0852, by way of

                                                                 s, Inc. (“Unitex”), having its
    against Third Pare; Defendant, Unitex Textile Rental Service

                                                         York.
    principal place of business located at Elmsford, New

                                              FIRST COUNT
                                       (Contractual Indemnification)

                                                                                  Jersey Declaratory
                     ne turisdiction of this court is invoked pursuant to the New

    judgment Act, N.JUS.A. 4A:1 6-56, et Sea.

                                                                           because, upon information
             2.     This Court has jurisdiction over Third Party Defendant

                                                                to do business in New Jersey ang,
    and belief, Third Party Defendant is licensed or authorized
                                                             New Jersey.
     within the relevant time period, ongaged in business in
                                                                          because the underlying
             3      Vesut is proper in this County, Pursuant to R, 4:3-2,

                                                              .
     personal injury maiter allegedly occurred in this County
                                                                        ), at all relevant times, was
             4,     Plaintif®, Chad Cummings (“Plaintiff® or “Cummings”

     an employee of Third Party Getendant, i/nitex.
                                                                               7, 2022, he was
              5.     Paint?   claims that on or about the morning o F November

                                                                ary at Princeton.
     making a delivery on behalf of Unitex to the MeCosh Infirm
                                                                                            plate to
              Os     Plaintiff claims that when making his delivery, he did not have a dock
                                                                      dock at Princeton.
     bridge the distance from Unitex’s delivery truck and the loading




                                                       6
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 29 of 155 PageID: 29
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                                                                                ton                    and used thal, which he
             %,          Plaintiff alleges thai he found a dock plate at Prince
                                                                                              of
                                                 for which he has sued Princeton. A true copy
  clairas caused hin to fal) and sustain injury,
                                             xhibit A.
   Plaintiff's Complaim is atached hereto as
                                                                    ct, effective, 2 Januaryy |, 2022.
              8,         Unitex and Princeton entured into a contra



                                                                                                es 3    University, us oificers. employees,
             INDIOVNPIC        A   EO:     Contacte:    shall defund, indcnmify ant hold halini
       46.
                                                            iist any anid all Chins. depuis.           mages, linhilities, expenses, losie”
             spstccsagents.a drepresestariy2” rom andbapa                            fees and  CASES,  (colle chvely. "Claims") sustained
                                                                    to atterne y's
             af every aatne snd kind, caclodine but at Tinited                                        nance    hereunder al Contractor its
                                                                     or arising Out of the    nerfon
             orallegndie be hect.. rained in. canavetion-with                      event  University    is alleged e3 Found to be partially
                                                                   even   in the
             aon j            s, aubrontractors and consultants,
                                                                                           Liniversity iy Ure owen Universiy is arowet
             newiigent, Hoy    er. Contractor shall not be obligated (o so indentnify
             to be saleby nevuig cat.
                                                                                                                      of patent o7
                                                                       y riyhis. cocludiie But ne) Hinited toc ajar
                               Peg uifinye ment of inetleenual propert                                        in connec tion wiik
                                                                                 Draueht against Uiiversity
                          miehages Wi el Wisapprapraned of trade secrets, are
             cayariehh                                                                              for ihe performance of this
                                                            ls that Contactor specifically produces
             University’s uss of any goods or materia                                                                 ity's request. shall
                                                                 University as set forth above But ali, apon Univers
                yeement, Contiacsar shall not only indemanty                        ov  materia ls, ar re slace or modify ) such goads
                                                                                                                                  s     o
                                                            ue to use such soods
              sroctie for Urivcrsiay2 Ue it y ‘Dt Wo cantin                 t
                                                                                                                      infrin gement  dogs
                                                               is removed: provided. however. htt guch alleged
             imaferiats. such that she all. ged inGingenent                        the goods or praterials
                                                 Bas   altars    Os madification   of
              not urise solely from     Linive




                                                         upon request.
             A full copy of thy Contract ill be provided



                                                                          act, Unitex agreed to “defend,
                   9,     Pursuant to Parazraph 16 of the aforesaid Contr
                                                                                                  s arid
                                                  rsity. its officers, employees, trustees, agent
    indemnify and hols harmicss [Princeton] Unive

                                                 claims, demands. damages, liabilities, expenses,
    representatives from and against any and all

                                                but not fimited to attorney’s fees and costs
    losses of every nature and kind, including.
                                                                                                      g
                                                    have been sustained in corinection with or arisin
    (collectively “Clapns”) sustained or alluged to
                                                          ex], or its agents. employees,
    out of the performance thereunder of Contractor [Unit

                                                      the University is alleged or found to be
    subcontractors and consultants, evon in the event
                                                        be obligated to so indemni Fy University in the
    partially negligent. However, Ci ntractor shall not

    event University is proven to be solely negligent.”
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 30 of 155 PageID: 30

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                                                                                 es were dangerous dug to
              10.    Plaintifi’s allegation against Princeton is ihat the premis

                                                         duties for his employer, Third Party
   the dock plate Pla mtit? “mployed while executing his

   Defendant, Unites.

                                                                              arose oul of Plaintlt’s
              I].    Based on Plaintiffs allegations, any negligence, if any.

                                                          ed Plaintiff and trained him in the use
   use of the dock plate. which Unitex should have provid

                                                        to unload his delivery.
   of, including how to park ihe delivery vehicle so as
                                                                            not exclusively that of
              (2.    Beccd on Plaintiff's atlegations, the alleged fauit is

                                                        Princeton, has an obligation to defend
   Princeton, therefore Unitex. under its contract with

   Plaintiff's claims. anu indemnify Princeton.

                                                                          ify Princeton has caused it
               13.   Tnire Party Defendant’s faiiure to defend and indemn

    damage.
                                                                          ds judgment against
               id)    WEEP EFORE, Third (arty Plaintiff. Princeton, deman

                                                         all compensatory damages. altorney’s fees.
    Third Party Defends i, Umtex, declaring it Hable for
                                                                                            cquitable and
    interest and the (8         of suli and for other and further relief as the Court deems

    jush

                                                    COUNT TWO
                            (Common-Law Indemnification and/or Contribution)
                                                                                        of the Third
              1,      Princeton rerats and realleges the allegations of the First Count
                                                              entirety.
    Party Complaint, as if same were set forth below in their
                                                                                  ff, which is denied, said
              2.      If it is aetermined that Princeton is liable to the Plainti

                                                                       in nature, whereas the liability
    liability would be pessive, secondary. vicarious and/or derivative
                                                                      cause of action for indemnification
    of Unitex is active or primary ir nature, se as fo vive rise to a

     andor contribution agains! Unitex.
                                                                             s judgment against
               WHEREFORE. Detendant/Thira Party Plaintiff, Princeton. demand

                                                                      and indemnification of any
     the Third Party Defendant, Unitex, for dull and complete defense
                                                            8
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 31 of 155 PageID: 31
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                                                                er with interest, counsel fees, costs. and
   liability Imposed upon it by the claims of Plaintiff, togeth

                                                 equilable and just.
   such other and further «liefaz the Wowt deems

                                  DESIGNATION        OF TRIAL COUNSEL

                                                               Esq, as its ivial counsel on all issues.
              Defendant hereby designates Edwaid G. Sponzilli,

                                                    NORRIS MCLAUGHLIN, P.A.
                                                    Attorneys for Defendant,
                                                    Trustees of Princeton University

                                                               isf Edward G. Sponzilli
   Deted: Juby 5, 2023                               |
                                                                Edward G. Sponzilli, i:sq.



                                   ERTIFICATION          UNDER RULE 4:5-1

                                                                         the matter in controversy 15
              We hereby curtlly pu. suant 8. 5-1 thal. to our knowledge,

                                                         a pending arbitration proceeding, and that
   not the subject of any other actin in avy court or of
                                                            .
   no other action or arsttation procceding Is contemplated
                                                                          should be joined in the within
              We further» ertify © that. to our knowledge, no other party
                                “sf




    action.

                                 CERTIFICATION           UNDER RULE 1:38-7(b)

                                                                          redacted from documents now
               I certify that Confidential Personal identifiers have been
                                                                                    the future m
    subnutted to the Count, and     ili be reducted from al! documents submitted ia


    accordance with Rule 1:58-7(b}




                                                          2)
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 32 of 155 PageID: 32
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                                       CERTIFICATION           UNDER RULE 4:6

                                                                                                    by Rule 4:6
               | hereby   certify} <hat the within ioleadingg was served within the time jprov ided j


  and ie any applicable catensiuns,

                                                         NORRIS MCLAUGHLIN. P.A.
                                                         Attorneys for Defendant,
                                                         Trustees of Princeton University
                                                                isf Edward G. Sponzilli
                                                         By       7          =        ina
   gene]   >       ney
   Dated: duly 3, 202.
                           aie
                                                                 Edward G. Sponzilli
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 33 of 155 PageID: 33
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                         EXHIBIT “A”
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 34 of 155 PageID: 34

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   Filia: Atiorney:                ‘Matthew H. Muetier
   Aboracy 1D:                     32202010

   CLEMENTE MUELLER. PA.
   ATTORNEYS AT LAW
    § PROFESSIONAL CORD ORATION
   Offiee: 222 Ridgedale Avenue, 2™ Fioor
           Cedar Knol!s. New Jersay 07727
   Mail:    Post Office Bo, 1296
            Morristown. New cersey 07962-1295
   (9733 455-8008
   Ahorneys fer igaee a had Cunmings
   Our File No, 3189.00".



     CHAD CUMMINGS,                                                   : SUPERIOR COURT OF NEW JERSEY
                                                                                 LAW DIVISION
                             Plann,                                           MIDDLESEX COUNTY


                v8                                                    ' Docket No.:

                                                                      :                       Civil Action
     TRUSTEES OF PRINCETON
     UNIVE —_ D/B/A PRINCE ION
     UNIVER Sry: :                                                     : COMPLAINT JURY DEMAND, AND
                                                                             BESIGNATION OF TRIAL
     JOHN Be SES 1-10
                                                                        :          COUNSEL
     JOHN DOE CORFE URATIONS 1-10;

                                encani(s)


                                                                                                      Street, Apt |.
                plaintiff,      ied Care      cings, (beretuafier “Plaintiif?), residing 224 Hamilton

                                                      Brunswick. the                                County of Middlesex, and die
    New Brunswick, NF O&90!, within the © city of New

                                                   ant(s), states:
     State of New Jersey, comp! ning of the Defend

                                                    BACKGERUND              AND   PARTIES

                                                                      the Plaintiff Chad Cummings                 is a natural      person
                1.           At al! relevant        tines   nerein,

                                                                          Brunswick,     NJ    08901,    within     the    City   at New
     residing        224   Hamiiion       Street,    Apt.   1, New

                                                          New Jersey.
     Brunswick, the County of Middtssex, and the State of
                                                                                                    of Princeton          U iniversity, is 4
                Da           AG ell relewect times herein, the Defendant, Trustees

                                         nonsuciarian       institution,     operating    and    doing    business         as “Princeton
     private,        not-for-pa >fit,
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 35 of 155 PageID: 35

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       MID-L-GO2B85




                                                               Princeton, the County of Mercer, aad
   University” in Prascetus, New Jersey, within the Borough of

   the State of New Jor-ey
                                                                              as truck driver,
           3.        At all relevant Limes, the Pisiutiff_is and was employed
                                                                          of the subject incident, the
           4,        On o; *hout the morning of November 7, 2022, the day

                                                           MeCosh infirmary at Princeton University,
   Plaintiff was making a deiivery fer nis employer at the

   and pulled tac io. . ue was Jiriving into loading dock.
                                                                                g dock plate on his dock
           5.        The Pleiudf? entered she loading dock, and placed a jvadin
                                                         and cauged the Plaintiffto fali due io certain
   and the truck, ane 7...4 te loading dock riate failed

                                                           severe and permanent physical injuries in
   defective conditions. which caused Plaintifi to suslain

   and about his body.

                                                  nerein,     the Defendants,       John   Does   1-10    and John Doe
            6.       Av     all relevant times

                                               persons      operating   as   “Princeton     University”    or “McCosh
   Corporations      {-10    are    “ctious

                                                                                     plate, whose correct
    infirmary? or wis)       bee as nonsible cor the maintenance of the loading dock

                                                             ise persons or entities bearing lability or
    or legal identities eve rs *ntly Une.1OWn, OF are otherw
                                                                                               ies or Habilify is
    responsibility for tay         invorvemment with the Plaintiff's injary, but whose identit

                                                                                               in good taith.
    presently goknown 1 1             Mamtitfs, or agdt.ot whom Plaintiff cannot plead against

                                              COUNT ONE
                                   NEGLIGENCE AND PREMISES                        LIABILITY

                                                                                                 ce each and every
                7.    Plain.       repeats, r:-alle ses, reiterates, and incorporates by referen


    preceding paragraph: as if s- forin at iength hercin,
                                                                                     lawfully on the
                R.    On or apout the mormiug of November 7, 2022. the Plaintiff was

    Defendant's .azimises Kno~            as the McCosh infirmary at Princeton University.
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 36 of 155 PageID: 36
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              9.                                                  was caused to suffer serious and permanent
                           Atthe aforesaid aut. and time, Plaintiff

                                                                 and   negligent   actions   of Defendants,   and/or    US
   injuries        as    a resuli        cf the   unreagovable

   agents employees.
                                                                                            Defendants, acting
                   ),      At the “foresaid date and time, and for some time prier thereto,
              oy
              oH




                                                                    and/or employees, acting as
   personally and/or by and througs their agents, servants. workmen
                                                                      and defective condition(s).
   sforesaid, careic.. y and negligently created or allowed dangerous

                                                                   rly maintained loading dock piate,
   including but not limited te, the defective, broken, or imprope

   io remain on the preasies. for an unreasonable period of tire,
                                                                                                              constructiv
               11.          Al Dc Se dants created » dangerous condition and/or bad actual and/or

                                                                     sustained injuries.
   notice of the dangerous cond.ien in the areas where the Plaintiff
                                                                                      result of the aforesard
               12.          At tls ~foresaid date aad time. as a direct and proximate

                       we, - carelessr uss, failure to inspect their i}property ,v fatlure lo wart of dangerous
   Defendants’ neglive
                 Le]
                                                                           ry



                                                                                                        scrious
   conditions ot ©                  prepeny, and other improper conduct, Plaingiff was caused to suffer

                                                                            d dangerous or defective
   and permanent injuries ui end abou: his body as a result of the aforesai

    condition(s). on itz.dent’s aforesaia property.

                                           adants failed to take any action to correct said dangerous condition, failed

                                                                                    defective condition(s
    to warn, failed to caution, fai.ed to advise the Plaintiff of the dangerous and

    and/or were otherwive careless aid negligent,

                                                    owed   a duty of     care to Plaintiff to operate their materil    and
                   14.      All Defexdanis

                                                                                            ance of their
    machinery            in 2 ‘2 > ead proper manner, to mainiain proper upkeep and mainten

                                                                             and observe others while
    material, machiner,, and loading ucck plates, as well as to remain alert

    operating their uinte. ui, machinery anc loading dock plates.
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 37 of 155 PageID: 37

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                         mS
                                                                                   a sa e and prope
           IS.      All Deteadant: Milo cs operate their material aud machinery in

                                                                       and machinery, as well! as to
   manner, to maintain ;ieser urkeep and maintenance of their material
                                                                       machinery.
   remain alert and observe othe,s while operacing their material Land

           16.      Alt Leefondants owed          Plaintiff a duty of care to avoid enlisting or requesting

                                                                            d nor received the proper
   Plaintiffto engage it a technical task for which he was neilher qualifie
                                                                                            Plaintiy
   Ralnine, andi fg      vide adeyuate warnings, safely equipment, notice or precautions to

                                                                                             l task for
           17.      All DeZendauats, enlisted or requested Plaintiff to engage in a technica

                                                                               to provide adequate
   which he was nelitc. tiatified nor received the proper training, and failed

   warnings, safety eqinpizent, notice or precautions lo Plaintiff,
                                                                                       recklessness,
           18.      As a dircci, provimate and foreseeable result of the carelessness,

                                                                           the Plaintiff sustained   severe and
   negligence,   or ote” improper condyst of the Defendanis,

   pormanent physical ‘9)              jost    tyages and other econontic and non-economic damages, sufiers

   and will suffi    @   —. pin ad anguisi; and was and will be required lo seck medical assisiance.

           WHEREFORE,             wie Plarntil demands judgment against all Defendants, jointly, severally,

                                                                                 punitive daniuages,
   individually and iv 4. alternative on tue Complaint for compensatory damages,

   aliomneys’ fees, interest end costs of sub:

                                              ULEMaAND COR JORY TRIAL

           Plaintiff hweeby demands a tria! by jury as to all issues.

                                       ESICNA TION OF TRIAL COUNSEL

           Pleese take ootice ‘bat Matthew H. Mueller, Esq. is hereby designated a trial counsel ior

    the Plaintiffin the capt. sed matter pursuant to rule 4:25-4,

                          V4        FOR ANSYYERS          TO FORM INTERROGATORIES

            Plaintiff demunds tha? Defendarts iu provide answers to Form C and C(2) interrogatories.
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 38 of 155 PageID: 38
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                                        CERTIFICATION PURSUANT           TOG RULE 4:5-1

                         an attorney       for the Plaintiff in the above-captioned   raaiter and     ani filing this
             1 am

             Certifieation pursuant to Rule 45-1,
                                                                                             action pending
             { hereby certiiy that the matter in controversy is not the subject of any other

             in any other court, except for the following:

                    a.    Neuse.

                                                                                                 ng and, as
             i further certify that the within matter is not pending in any arbitration proceedi
                                                                                                       contemplated.
             of the date of tie Hiking of this Cert‘dcation, no such arbitration proceeding is

       4v.   | further cert'#y that no additional parties should be joined in the within action.



                                                                               CLEMENTE            MUELLER,      P.A.
                                                                                               Attomeys for Plaintiff

                                                                                      By:_s/     Matthew H. Mueller
                                                                 [electronic signature pursuant to R. 1:32-2A(c)]
                                                                                              Matthew H. Mueller


   Dated:
Case 3:24-cv-06304-ZNQ-RLS Document 1 Filed 05/21/24 Page 39 of 155 PageID: 39
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                             Civili Case            Information Statement

   Case Detalis: MIDDLESEX |-Givil Past Do cet 1.0G2838-22

                                      VS TRUS TEES GF            Case Type: PERSONAL INJURY
  Case Caption: CUMMINGS UnaD
                                                                 Document Type: Complaint with Jury Demand
  PRINCETO N UNIVERS
                                                                 Jury Demand: YES - 6 JURORS
  Cage Initiation Date: 05/18/2023
                                                                 is this a professional malpractice case?   NO
  Attorney Namie: MATTHE 'H MUTLLER
                                                                 Related cases pening: NO
  Fiym Name: CLEMENTE viJELLER PA
                                                                  If yes, list docket numbers:
  Address: PO BOX 1296
                  NJ 27962                                       Qo you anticipate adding any parties {arising ont of same
  MORRISTOWN
                                                                 transaction of occurrence)? NO
  Phone: 9734558008
                                © Cumming’. Chee                  Does this case involve claims related ta GOVID-197 NO
  Name of Party: PETITIONER
   Mame of Defendant's Prim: ry insurance Company                        sual a     leis        .    ;                N
                                                                                                            ayanimes? ND
                                                                  Ars saxual abuse claims alleged by: Chad Gunmings?
   (if. known}: Unknown




         THE INFORMATION PROVIPED OR THIS FORM CANNOT!S APPROPRIAT             BE INTRODUCED INTO EVIDENCE
                   CANE CHARACTERI STICS FOR PUR"-OSES OF DETERMININ G IF CASE      E FOR MEDIATION


    Do parties have a curn rt, ost, Gr recent           relationship? NO

    #¥ yes, is that relatic~   ip.
                                                                      fees by the lusing party? NO
    Does the statucc governing thie tase provide far payment of
                                                                     istics that may warrant individual
    Lise this space to aler th 2 court to any special case character
    management er accsiercted changsition:



    Be you or your client ne od aay disability agcomniodations? NO
              li yes,3, please
                        f      idoncify ts requested accornmodation:



    Will an interpreter be needed? NO
             if yas, far wha: anguage:


                                                                      NO             Title 59? NO   Consumer Fraud? NO
    Please check off each : pnlicabs category: Putative Class Action?




                                                                                               submitted ta the
    | certify that con*identia) personal identijers have been redacted from documents now
                                                                in the future in accordanc e with Rule 71:38-7(0)
    court, and will be redactaci fre all documents submitted

    05/18/2023                                                                                   /s/ MATTHEW H MUELLER
                                                                                                                  Signed
    Gated
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                            EXHIBIT C
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